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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:12-CR-463 JCM (VCF)
                 8                                              Plaintiff(s),                     ORDER
                 9              v.
               10        FREDERICK VERNON WILLIAMS,
               11                                            Defendant(s).
               12
               13              Presently before the court is the case of United States of America v. Frederick Vernon
               14       Williams, et al., case number 2:12-cr-00463-JCM-VCF. This case is currently set for calendar call
               15       on Wednesday, June 24, 2015. Trial is set to begin Monday, June 29, 2015.
               16              On June 11, 2015, defendant Denise Allison Williams filed a motion in limine to admit
               17       testimony at trial. (Doc. # 500). The United States responded on June 16, 2015. (Doc. # 502).
               18       Denise Williams’ reply is due June 22, 2015.
               19              On June 19, 2015, defendant Carolyn Shelmadine Willis-Casey filed a motion in limine to
               20       exclude testimony at trial. (Doc. # 510). The clerk’s office set the United States’ response deadline
               21       for due July 6, 2015.
               22              On June 22, 2015, defendant Frederick Vernon Williams filed two motions in limine.
               23       (Docs. ## 512, 513). The clerk’s office set the United States’ response deadline for July 9, 2015.
               24              Because the response deadlines automatically set by the clerk’s office for defendant
               25       Carolyn Shelmadine Willis-Casey’s and Frederick Vernon Williams’ motions in limine do not
               26       comport with the case’s trial schedule, the court finds it necessary to order an expedited briefing
               27       schedule.
               28

James C. Mahan
U.S. District Judge
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                1            Accordingly,
                2            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States shall
                3     file any responses to Carolyn Shelmadine Willis-Casey’s motion in limine (doc. # 510) and
                4     Frederick Vernon Williams’ motions in limine (docs. ## 512, 513) by the calendar call set for
                5     Wednesday, June 24, 2015, at 1:30 PM.
                6            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that defendants Carolyn
                7     Shelmadine Willis-Casey and Frederick Vernon Williams shall file any replies by Thursday, June
                8     25, 2015, at 5:00 PM.
                9            DATED June 22, 2015.
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              11                                                 __________________________________________
                                                                 UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                               -2-
